






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






ON MOTION FOR REHEARING









NO. 03-08-00435-CV






Texas Department of Public Safety, Appellant


v.


Joshua Jack Nail, Appellee






FROM THE DISTRICT COURT OF LLANO COUNTY, 33RD JUDICIAL DISTRICT

NO. 15,973, HONORABLE V. MURRAY JORDAN, JUDGE PRESIDING




D I S S E N T I N G   O P I N I O N



		After unanimously affirming the trial court's order, the majority on rehearing reverses
course, applies the wrong standard of review, and substitutes its own judgment for that of the trial
court despite the undisputed facts in the record and the trial court's express findings regarding those
facts.  For these reasons, I dissent.

		The majority acknowledges that an appellate court reviews a trial court's grant of a
petition for expunction under an abuse of discretion standard.  See slip op., supra, at 7.  The
majority, however, converts this standard into one of de novo review based on its post-hoc
determination on rehearing that the grant of expunction in this case turns not on the undisputed facts
as expressly found by the trial court, but on a question of law.  See id. at 7-8.  In a case involving
undisputed facts as expressly found by the trial court, the majority's attempted conversion from
abuse of discretion to de novo review is misguided.  

		The trial court expressly found "that there was no court-ordered supervision of [Nail]
under Art. 42.12 [of the code of criminal procedure]."  The judgment in the underlying case and the
prosecutor's testimony in this case support the trial court's express finding.  There is no reference
to court-ordered community supervision in the underlying judgment.  Indeed, any reference to
court-ordered supervision, community supervision, probation, or terms and conditions of probation
on the printed form has been marked out.  The prosecutor testified on direct examination at the
hearing on appellee's petition for expunction as follows:


	A.	. . . I think I sent you a plea bargain letter and it was always that [Nail] was
not supposed to report [to a probation officer] and it was just - - it was sort
of like a Class C misdemeanor, you pay a fine and court costs and that's it.


	Q.	Right.  And as attorney for the [S]tate, you and I made that agreement?


	A.	Right.


	Q.	And the agreement was with the understanding that doing it in this way, the
way we did it, [Nail] would be eligible for expunction and you would not
oppose it?


	A.	We hoped so.


	Q.	Well, we hoped so.


	A.	Yeah, but I said I would not - - you know, he was a good boy.  As long as he,
you know, didn't have any criminal history between now and the time of
expunction that I would not have any problem with it.


		The prosecutor's testimony makes clear the parties' intent that appellee would be
eligible for expunction.  Based on this testimony and the underlying judgment, I would conclude that
the trial court did not abuse its discretion in finding that there was no court-ordered community
supervision under article 42.12 or in granting the petition for expunction.  See Heine v. Texas Dep't
Pub. Safety, 92 S.W.3d 642, 646 (Tex. App.--Austin 2002, pet. denied) (reviewing trial court's
order granting expunction for abuse of discretion).  Viewing the evidence in the light most favorable
to the trial court's ruling, I would also conclude that the evidence in the record was legally sufficient
to support the trial court's order granting expunction. (1)  See City of Keller v. Wilson, 168 S.W.3d 802,
807, 827-28 (Tex. 2005).

		The majority's opinion on rehearing usurps the role of the trial court as factfinder and
erroneously substitutes this Court's judgment for that of the factfinder under the misguided
application of a de novo standard of review.  See slip op. at 7-8.  Rather than accept the undisputed
facts as found by the trial court, the majority considers the requirement in the underlying judgment
that Nail pay an $800 fine to be a "condition" of community supervision and, therefore, determines
that Nail was placed on community supervision within the meaning of article 42.12.  Based on this
reasoning, the majority concludes that Nail is ineligible for expunction.  The majority's analysis is
inconsistent with the plain language of article 42.12.

		Article 42.12 defines the term "community supervision" as:

	the placement of a defendant by a court under a continuum of programs and
sanctions, with conditions imposed by the court for a specified period during which:


	(A)	criminal proceedings are deferred without an adjudication of guilt; or


	(B)	a sentence of imprisonment or confinement, imprisonment and fine, or
confinement and fine, is probated and the imposition of sentence is
suspended in whole or in part.


Tex. Code Crim. Proc. Ann. art.42.12, §&nbsp;2(2) (West 2006).  The plain language of this provision
requires that a defendant be placed "under a continuum of programs and sanctions, with conditions
imposed by the court" to qualify as community supervision within the meaning of the statute.  There
is no evidence in this case that Nail was placed under a continuum of programs and sanctions, much
less "a continuum of programs and sanctions, with conditions imposed by the court."  See id.  As
reflected in the majority opinion, all references to the phrase "Terms and Conditions of Probation"
in the underlying judgment have clearly been marked out, and there was no attachment to the
judgment reflecting a continuum of programs and sanctions applicable to Nail.  Nor was there a
separate order placing Nail on community supervision or specific findings related to such an order. (2) 
Although section 11 of article 42.12 does include payment of a fine as a possible condition of
community supervision, see id. §&nbsp;11(a)(8), there is nothing in the underlying judgment at issue here
stating that the trial court imposed payment of a fine as a condition of community supervision.  The
majority's attempt to equate the payment of a fine with a condition of community supervision is
inconsistent with the plain language of the statute. 		

		The majority's reliance on Texas Department of Public Safety v. Moran,
949&nbsp;S.W.2d&nbsp;523 (Tex. App.--San Antonio 1997, no writ), and State v. Knight, 813 S.W.2d 210
(Tex. App.--Houston [14th Dist.] 1991, no writ) is misplaced.  Both Moran and Knight were
decided prior to the 1999 amendments to article 55.01, in which the legislature changed the language
in article 55.01(a)(2)(B) from "court ordered probation" to "court ordered community supervision." 
See Act of May 30, 1999, 76th Leg., R.S., ch. 1236, §&nbsp;1, 1999 Tex. Gen. Laws 4279, 4279.  Thus,
neither Moran nor Knight address the amended version of the statute in connection with
article&nbsp;42.12.  More importantly, unlike here, neither case involved an express finding by the
trial&nbsp;court that the defendant did not receive court ordered community supervision.  In Moran, the
San&nbsp;Antonio appellate court found "the record was silent" with respect to whether the defendant
received court ordered probation and, therefore, Moran failed to carry his burden of proving that he
did not receive court ordered probation as required under the expunction statute.  See 949 S.W.2d
at 526.  And in Knight, the Houston court of appeals found that Knight was subject to several
conditions of probation, including the voluntary and permanent surrender of his peace officer's
license.  See 813 S.W.2d at 211.  The court therefore rejected Knight's argument that he was not
placed on court ordered supervision since he was not required to report to the probation department,
holding that the question was whether Knight received court ordered probation, not whether his
probation involved court ordered supervision.  See id. at 212.

		In contrast to the records in Moran and Knight, the record before us demonstrates that
Nail did not receive court ordered community supervision within the meaning of article 42.12.  There
is no order placing Nail under a continuum of programs and sanctions, with conditions imposed by
the court.  There is no order requiring Nail to perform mandatory community service as required in
section 16 of article 42.12.  Nor is there an express finding exempting Nail from community service. 
There is, however, an express finding by the trial court that, based on the record, Nail did not receive
court ordered community supervision.

		Because the proper standard of review in this case is abuse of discretion, not de novo,
see Heine, 92 S.W.3d at 646, and the evidence in the record is clear--and the trial court expressly
found--that appellee did not receive court-ordered community supervision under article 42.12, on
this explicit record urged by the prosecutor and on findings by the trial court, I would affirm the
trial&nbsp;court's order granting the petition for expunction.  Because the majority does not, I
respectfully&nbsp;dissent.


						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Filed:   January 8, 2010

1.   The majority's conversion of the standard of review from abuse of discretion to de novo
review inhibits the majority's review of the Department's legal sufficiency claim because, in
applying a de novo standard of review, the majority fails to view the evidence in the light most
favorable to the trial court's ruling.
2.   For example, if a trial court places a defendant on community supervision, section 16 of
article 42.12 requires a trial court to impose community service as a condition of community
supervision unless the trial court makes certain express findings.  Tex. Code Crim. Proc. Ann.
art.&nbsp;42.12, §&nbsp;16(a) (West 2006).  Because section 16(a) states that "[a] judge shall require as a
condition of community supervision that the defendant work a specified number of hours at a
community service project or projects," this requirement is mandatory for all defendants placed on
community supervision unless expressly excused in the order placing the defendant on community
supervision.  See id. §&nbsp;16(a)(1)-(4) (allowing for exceptions to community service requirement). 
There is nothing in the plain language of the statute to suggest that the legislature intended
community service to be an optional requirement of community supervision.  And there is nothing
in the record showing that Nail was required to perform community service.  Nor does the record
include any of the findings necessary to exempt Nail from performing community service as required
under section 16(a).

